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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 MEDA PHARMACEUTICALS INC.,                        )
                                                   )
                 Plaintiff,                        )
                                                   )
        v.                                         )     C.A. No. ______________
                                                   )
 AUROBINDO PHARMA LIMITED and                      )
 AUROBINDO PHARMA USA, INC.,                       )
                                                   )
                 Defendants.                       )
                                                   )

                       CORPORATE DISCLOSURE STATEMENT OF
                       PLAINTIFF MEDA PHARMACEUTICALS INC.

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Meda

Pharmaceuticals Inc. (“Meda”) states as follows:

       1.       Meda is a wholly owned subsidiary of Meda AB.

       2.       Mylan N.V., a publicly held company, indirectly owns more than 10% of Meda

       AB’s stock.


  Date: February 12, 2019

  Of Counsel:
                                                       /s/ Amy Luria
 Deepro R. Mukerjee                                    Amy Luria
 Lance Soderstrom                                      CRITCHLEY, KINUM & DENOIA, LLC
 KATTEN MUCHIN ROSENMAN LLP                            75 Livingston Avenue
 575 Madison Avenue                                    Roseland, New Jersey 07068
 New York, NY 10022-2585                               Telephone: (973) 422-9200
 (212) 940-8800                                        Fax: (973) 422-9700
 deepro.mukerjee@kattenlaw.com                         aluria@critchleylaw.com
 lance.soderstrom@kattenlaw.com

 Jitendra Malik, Ph.D.
 Alissa M. Pacchioli
 KATTEN MUCHIN ROSENMAN LLP
 550 S. Tryon Street, Suite 2900



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 Charlotte, NC 28202-4213
 jitty.malik@kattenlaw.com
 alissa.pacchioli@kattenlaw.com




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